 Case 2:19-bk-51163-RRM        Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                                Main Document    Page 1 of 20




SO ORDERED.
SIGNED this 26th day of May, 2021


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.



   _____________________________________________________________
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 2 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 3 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 4 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 5 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 6 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 7 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 8 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                          Main Document    Page 9 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 10 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 11 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 12 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 13 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 14 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 15 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 16 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 17 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 18 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 19 of 20
Case 2:19-bk-51163-RRM   Doc 1118 Filed 05/26/21 Entered 05/26/21 16:55:54   Desc
                         Main Document    Page 20 of 20
